
825 So.2d 492 (2002)
Sandra GRAHAM, Appellant,
v.
STATE of Florida, Appellee.
No. 2D02-2553.
District Court of Appeal of Florida, Second District.
August 30, 2002.
PER CURIAM.
Affirmed without prejudice to any right Graham may have to file a timely motion pursuant to Florida Rule of Criminal Procedure 3.850 if she wishes to challenge the factual accuracy of the trial court's records concerning the dates she was in jail. See Hamilton v. State, 752 So.2d 133 (Fla. 2d DCA 2000).
BLUE, C.J., and DAVIS and COVINGTON, JJ., Concur.
